 Case 2:20-cv-12156-BAF-EAS ECF No. 1 filed 08/12/20     PageID.1    Page 1 of 17



              UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF MICHIGAN
                   SOUTHERN DIVISION
LINDA MICHELE DAMRON,

            Plaintiff,

v.                                                Case No. 20-cv-________

                                                  Hon.
AMAZON.COM SERVICES, INC.,

            Defendant.


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                     COMPLAINT AND JURY DEMAND

      Plaintiff Linda Michele Damron, by and through her attorneys, SALVATORE

PRESCOTT PORTER & PORTER, submits this Complaint and states as follows:

                                  OVERVIEW

      In each quarter of 2019, Amazon notched approximately $2,000,000,000.00

in profits. Meanwhile, Plaintiff Damron worked in the company’s fulfillment center

in Romulus, quietly and effectively doing her job day in and day out. In August


                                        1
 Case 2:20-cv-12156-BAF-EAS ECF No. 1 filed 08/12/20        PageID.2      Page 2 of 17



2019, Damron’s son attempted to commit suicide: in fact, Plaintiff was personally

drawn into a standoff with police in which her child was brandishing a weapon with

which to kill himself. Understandably distraught to the point of physical breakdown,

Damron expressed to Amazon that she needed to use her federally guaranteed

Family Medical Leave for some medical attention—and why.                  Knowing that

Damron and her child were going through extreme psychological turmoil, Amazon

responded with a flurry of red tape, incorrect directions contrary to law, and

confusing and conflicting instructions to Damron about securing her leave. She

attempted to comply and faithfully returned applications for leave as requested

(more than once). Amazon’s own records show it granted her the leave she was

seeking, leave to which she was indisputably entitled, yet it also erroneously

processed a termination of her, for supposedly failing to apply correctly. Its refusal

to redress this error brings the parties to this Court.

                    PARTIES, JURISDICTION AND VENUE

      1. Plaintiff is a resident of Wayne, Michigan.

      2. Defendant Amazon.com Services, Inc. is foreign corporation incorporated

          in Delaware with its principal place of business in Washington. Defendant

          is registered with the Michigan Secretary of State and is doing business in

          this District. The Court therefore has personal jurisdiction.




                                            2
Case 2:20-cv-12156-BAF-EAS ECF No. 1 filed 08/12/20        PageID.3   Page 3 of 17



    3. This Court has subject matter jurisdiction over this action pursuant to 28

       U.S.C. § 1331, because this case arises under the Family Medical Leave

       Act.

    4. Venue is appropriate under 28 U.S.C. § 1391 since a substantial part of the

       events giving rise to this action occurred in this District.

                        GENERAL ALLEGATIONS

    5. Linda (“Michele”) Damron is a 49-year-old resident of Wayne, Michigan.

    6. Amazon is an international internet retailer that employs hundreds of

       thousands of employees.

    7. Amazon hired Damron on August 4, 2018 at Amazon’s Fulfillment Center

       in Romulus, Michigan as a Warehouse Associate.

    8. Damron’s work was effective and satisfactory at all times.

    9. Amazon did not separate/terminate Damron because of any issue with the

       performance of her duties.

    10.On August 25, 2019, Damron’s son attempted to kill himself.

    11.Damron was put in the horrendous position of having to intervene and

       come in between her son––who was armed and in great emotional distress–

       –and police officers who had arrived to help him.

    12.Damron’s son was hospitalized thereafter.




                                        3
Case 2:20-cv-12156-BAF-EAS ECF No. 1 filed 08/12/20      PageID.4   Page 4 of 17



    13.The next day, Damron explained to agents of Amazon what had happened

       and requested a leave of absence.

    14.Damron did not know how much time she would need off and asked to be

       excused from work effective immediately without a return to work date

       specified.

    15.Amazon advised that someone would email her paperwork for leave under

       the Family Medical Leave Act (“FMLA”).

    16.On August 27, 2019, Damron received a letter from Amazon reflecting her

       request as a request for “intermittent” leave, and stating that she was

       eligible for such leave.

    17.She was in fact eligible for leave under the FMLA. Specifically, she had

       been employed for more than enough time to qualify, and she was a regular

       full-time employee with adequate hours worked to qualify (and she had

       not depleted her leave) as of August 2019.

    18.Amazon requested that Damron complete a form known as the “Health

       Care Provider Certification Form.”

    19.On August 29, 2019, Plaintiff went to her doctor, who is also her son’s

       doctor, and the doctor filled out the Certification Form.




                                       4
Case 2:20-cv-12156-BAF-EAS ECF No. 1 filed 08/12/20        PageID.5    Page 5 of 17



    20.The form was completed to allow intermittent FMLA leave because

       Damron still did not know how long her son would be hospitalized or how

       long she would need her own medical care.

    21.That same day, within three days of her son’s horrific experience, Damron

       provided Amazon the completed form, meaning she had requested leave

       both verbally and in writing.

    22.Amazon’s FMLA administrators contacted Damron by phone upon receipt

       and conveyed that she needed to specify which dates she would be on

       leave.

    23.When Damron explained that it was impossible for her to do so given the

       situation, and she was told that in that case she should have requested

       continuous leave.

    24.When she asked whether she could be treated as requesting continuous

       leave, she was told she could not, and that if she tried her request for leave

       would be denied.

    25.Plaintiff was also told that she needed to resubmit her forms because they

       were too blurry to be read.

    26.Accordingly, on September 6, 2019, Damron again attended a doctor’s

       appointment, and a doctor again filled out the FMLA forms, following




                                        5
Case 2:20-cv-12156-BAF-EAS ECF No. 1 filed 08/12/20     PageID.6     Page 6 of 17



       Amazon’s directive for an intermittent leave between August 26, 2019 and

       September 8, 2019.

    27.The forms were faxed to Amazon that same day.

    28.On September 9, 2019, Amazon retroactively approved this leave period,

       issuing her a letter stating in part:




    29.Notably, Plaintiff received a telephone call reflecting approval of the

       leave, as well as a mailed letter from U.S. mail. As will be seen below,

       Amazon changed its method of communication with Damron, demanding

       time-sensitive responses based only upon email “notices” Damron never

       even saw, as events transpired.

    30.After its clear approval of Damron’s leave communicated on September 9,

       Amazon’s personnel records for Damron reflect contradictory, confusing

       and internally inconsistent determinations and/or instructions, including—

          a. On September 11, Amazon sent a new notice stating that Damron

              had exceeded her approved leave, and therefore needed to provide

              updated documentation from her health care provider.
                                          6
Case 2:20-cv-12156-BAF-EAS ECF No. 1 filed 08/12/20     PageID.7   Page 7 of 17



          b. On the same day, Amazon called Plaintiff directly to say the same

             thing.

          c. Yet Amazon’s payroll records show a different story, that Damron

             was approved for further intermittent leave from September 18 to

             25, 2019.

          d. On October 2, 2019, someone who was unidentified left a voicemail

             for Damron stating that she had failed to supply information needed,

             so her absences were unexcused.

          e. Damron returned to her doctor for additional paperwork.

    31.Meanwhile, further verbal communications between the parties ensued

       about Damron’s case in October, and Amazon’s internal records reflect

       that Damron was approved for the leave of absence, this time categorized

       as continuous from October 13 to 17, 2019.

    32.Then, in the midst of this approved leave, on October 15, 2019, Amazon

       sent Damron an email from its HR Department stating (again) something

       different. Now it stated that the balance of her unpaid time off was

       negative, which was a violation of Defendant’s attendance policy and

       could result in termination. That is, Amazon was reflecting that she was

       not on leave had had exhausted her vacation.




                                      7
Case 2:20-cv-12156-BAF-EAS ECF No. 1 filed 08/12/20      PageID.8   Page 8 of 17



    33.The October 15 email stated that if Damron felt this was a mistake, she had

       to respond the very next day (by October 16, a date Amazon’s own records

       reflected was a date of approved continuous leave) or she would be

       terminated.

    34.Notably, Amazon chose to express this contradictory and critical command

       (with a 24-hour deadline), without either mailing or calling Damron as it

       had done before.

    35.Damron did not receive the email until hours after the deadline.

    36.In any event (despite facing a series of confusing and contradictory

       determinations described above), Amazon’s own records reflect

       unambiguously that Damron had successfully and timely communicated

       she needed continuous leave, picking up after her already-approved

       intermittent leave described above, e.g., after September 9. Namely,

       Amazon’s own paperwork categorized Damron as “LOA – continuous”

       starting October 13.

    37.To further clarify for Amazon the situation, Damron supplied the case

       number for her request for continuous leave and she advised Amazon’s HR

       of the need for a continuous leave in response to its October 15 message

       not later than October 17, 2019 at 8:14 a.m.




                                       8
Case 2:20-cv-12156-BAF-EAS ECF No. 1 filed 08/12/20      PageID.9   Page 9 of 17



    38.At no time did Amazon tell Damon that this communication was

       insufficient untimely, or that she was fired.

    39.On the contrary, October 17, 2019 Amazon confirmed to Damron in

       writing it had received her FMLA requests (as well as a request for short

       term disability benefits), and that she could have until November 7 to

       provide documents to support the need.

    40.Nevertheless, and in complete contradiction of itself, Amazon also

       processed and sent Damron a termination letter to her dated October 17,

       2019, citing her absences from work as the cause of her separation.

    41.The hours of absence cited as the basis for the termination are dates/times

       that Amazon’s own records show as approved for leave.

    42.In summary, although Damron had been in contact repeatedly and had

       submitted requests for leave and had several calls about needing leave

       including on a continuous basis following her son’s trauma, and although

       Amazon’s own payroll records show that October 13 to 17 was an

       approved period of continuous leave for Damron, and although Amazon

       had demanded contradictory steps along the way, and although Damron

       re-re-re-flagged her need for continuous leave not later than October 17,

       and although Amazon approved and offered Damron until November 7 to




                                        9
Case 2:20-cv-12156-BAF-EAS ECF No. 1 filed 08/12/20       PageID.10    Page 10 of 17



        further this request—it changed its mind and fired her as of October 17,

        instead citing as absences her approved days of leave.

     43.On October 23, 2019, Damron received an email from Defendant’s HR

        department about the appeals process for her termination, which provided

        her seven days to submit a completed packet of information to appeal her

        termination.

     44.Then the very next day Amazon reversed itself again and told Damron in

        a letter dated October 24, 2019 that it had after all approved her continuous

        leave for her own medical condition, backdated, covering September 9 to

        October 21. Its letter stated, in part--




     45.That is, Amazon approved Damron’s intermittent leave to care for her son

        in the hospital from August 26, 2019 and September 8, 2019, as reflected

        above, and it approved her continuous leave covering September 9 to

        October 21.

                                         10
Case 2:20-cv-12156-BAF-EAS ECF No. 1 filed 08/12/20   PageID.11   Page 11 of 17



     46.On October 29, 2019, Damron responded to Amazon’s email regarding the

        appeals process and asked whether she still needed to appeal her

        termination since all of her absences were approved under FMLA. That

        same day, she timely emailed the appeals forms.

     47.Damron spoke with her local human resources representative, who

        indicated that the termination was in error and that Damron should be

        reinstated.

     48.On November 6, 2019, Damron emailed about the appeals paperwork

        because she had not heard anything. Damron also emailed again the next

        day.

     49.On November 22, 2019, Damron’s doctor filled out still more paperwork

        supporting Damron’s leave and faxed it to Amazon that same day.

     50.On December 5, 2019, Amazon sent another letter confirming that

        Damron’s leave of absence was approved from September 9 to October 17.

        This letter stated, in pertinent part:




                                          11
Case 2:20-cv-12156-BAF-EAS ECF No. 1 filed 08/12/20       PageID.12      Page 12 of 17




     51.Then, the very next day, Amazon sent yet another letter stating that it had

        reversed its leave of absence decision and that Damron’s appeal and use of

        leave was denied, and her termination was final because she had not

        successfully met Amazon’s demands for proper paperwork.



                        COUNT I
     FAMILY MEDICAL LEAVE ACT (29 U.S.C. § 2615)– Interference

     52.Plaintiff incorporates here all previously stated allegations.

     53.Plaintiff was an employee eligible for FMLA leave because she worked

        for Defendant for more than 12 months prior to Plaintiff’s FMLA requests

        and worked more than 1,250 hours during the relevant 12-month period.

     54.Defendant is a covered employer under the FMLA as it employed 50 or

        more employees within a 75-mile radius in 2019 as well as presently.

     55.In 2019, Plaintiff’s son suffered from a serious health condition.


                                        12
Case 2:20-cv-12156-BAF-EAS ECF No. 1 filed 08/12/20     PageID.13    Page 13 of 17



     56.Plaintiff’s son suffered incapacity, chronic or long-term conditions, and

        conditions requiring multiple treatments.

     57.Defendant knew about Plaintiff’s son’s health problems and also about

        Plaintiff’s need to care for him because she informed Defendant about the

        situation, requested leave, and provided documentation.

     58.Plaintiff requested intermittent leave.

     59.When she asked whether she could request continuous leave to address her

        own health, and after it became clear that was a more appropriate

        designation given the circumstances, she was falsely informed that she

        could not do so—that such a switch between types of leave would cause

        her to be fired.

     60.Defendants wrongfully denied and interfered with Plaintiff’s continued

        receipt of FMLA benefits by wrongfully denying her leave, and wrongfully

        instructing her she could not request continuous leave.

     61.Plaintiff eventually persisted nevertheless, and was—indeed—fired.

        However, as set forth above, Plaintiff did timely communicate her own

        need for continuous leave.

     62.Defendants wrongfully denied and interfered with Plaintiff’s rights by

        terminating her for being absent while she was eligible for and on approved

        leave.


                                        13
Case 2:20-cv-12156-BAF-EAS ECF No. 1 filed 08/12/20         PageID.14    Page 14 of 17



     63.Defendant disregarded the FMLA’s mandates and wrongfully denied

        Plaintiff FMLA benefits.

     64.Defendant’s wrongful denials of FMLA are willful FMLA violations

        committed in bad faith.

     65.Amazon is a sophisticated company well aware of its duties under the

        FMLA. Moreover, it had an appeal process in place here to correct itself,

        had it wished to do so. It failed and refused to act knowingly and despite

        its own multiple records showing Plaintiff was approved for leave on the

        dates she was terminated for “absences.”

     66.As a result, Plaintiff is entitled to damages, liquidated damages, attorney’s

        fees, costs and all other just and proper relief.



                        COUNT II
     FAMILY MEDICAL LEAVE ACT (29 U.S.C. § 2615)– Retaliation

     67.Plaintiff incorporates here all previously stated allegations.

     68.Plaintiff sought and took FMLA leave and sought continued FMLA leave

        when the situation necessitated it.

     69.Plaintiff was terminated because she exercised her rights under the FMLA

        in seeking and taking leave and for seeking additional leave under the

        FMLA to care for her son.



                                         14
Case 2:20-cv-12156-BAF-EAS ECF No. 1 filed 08/12/20         PageID.15   Page 15 of 17



     70.Defendant’s penalization of Plaintiff for using and seeking FMLA-related

        time is a willful FMLA violation committed in bad faith.

     71.As a result, Plaintiff is entitled to damages, liquidated damages, attorney’s

        fees, costs and all other just and proper relief.

                                COUNT III
                           EQUITABLE ESTOPPEL


     72.This Circuit recognizes that equitable estoppel applies to employer

        statements regarding an employee’s FMLA eligibility.

     73.Here, Amazon created a system by which to determine the need for FMLA

        leave and to appeal.

     74.It knew that Damron’s child had just attempted suicide and that she was in

        no mental condition to carry on at work.

     75.Amazon issued Plaintiff Damron an unqualified deadline to comply with

        its demands for paperwork to substantiate her need to use FMLA on

        October 17 and did not convey that her requests for leave were, as of that

        date, too late or that she would be fired.

     76.Damron reasonably relied on Amazon’s offers concerning the timelines

        she had to comply; after all, Amazon is a billion-dollar company with an

        entire unit devoted to FMLA compliance.              It has the capacity to

        communicate expectations clearly.


                                         15
Case 2:20-cv-12156-BAF-EAS ECF No. 1 filed 08/12/20         PageID.16    Page 16 of 17



      77.Rather than permit Damron to substantiate her numerous, actually received

          requests for FMLA leave per its own deadline, i.e., by November 7, 2019,

          Amazon terminated Damron, causing her detriment.

      78.It then denied her meaningful appeal by ignoring its own determination

          that she was entitled to leave, despite creating the appeal process.

      79.This result is unjust and must be compensated.


                              RELIEF REQUESTED

      Plaintiff Linda Michele Damron seeks all legal and equitable relief available

to her, including:

      a. Economic damages;

      b. Noneconomic damages;

      c. Liquidated and punitive damages;

      d. Attorney fees and costs; and

      e. All other relief deemed just and proper.




                                          16
Case 2:20-cv-12156-BAF-EAS ECF No. 1 filed 08/12/20        PageID.17    Page 17 of 17



                                              Respectfully Submitted,
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Date August 12, 2020

                                JURY DEMAND


     Plaintiff demands a trial by jury on all issues so triable.


                                              Respectfully Submitted,
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                                              /s/Sarah S. Prescott (P70510)
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Date August 12, 2020




                                         17
